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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiffs,                                           8:14CR409

        vs.
                                                                               ORDER
SHANE SEIZYS,

                        Defendant.


This matter is before the court on defendant's MOTION TO ENLARGE TIME TO FILE PRETRIAL
MOTIONS [67]. For good cause shown, I find that the motion should be granted. The defendant will be
given an approximate 12-day extension. Pretrial Motions shall be filed by February 9, 2015.


        IT IS ORDERED:


        1.      Defendant's MOTION TO ENLARGE TIME TO FILE PRETRIAL MOTIONS [67] is
granted. Pretrial motions shall be filed on or before February 9, 2015.


        2.      The ends of justice have been served by granting such motion and outweigh the interests
of the public and the defendant in a speedy trial. The additional time arising as a result of the granting of
the motion, i.e., the time between January 28, 2015 and February 9, 2015, shall be deemed excludable
time in any computation of time under the requirement of the Speedy Trial Act for the reason defendant's
counsel required additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).




        Dated this 29th day of January, 2015

                                                           BY THE COURT:

                                                           s/ F.A. Gossett, III
                                                           United States Magistrate Judge
